EXHIBIT A
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  Southern
 ____________________              Texas
                      District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                       Check if this is an
                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Tehum Care Services, Inc.
                                              ______________________________________________________________________________________________________



                                                  Corizon Health Services, Inc.
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   2     3     2    1    0 8     8 5 3
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                    Mailing address, if different from principal place
                                                                                                             of business

                                                  205 Powell Place
                                              ______________________________________________                 _______________________________________________
                                              Number     Street                                              Number     Street

                                                  Suite 104
                                              ______________________________________________                 _______________________________________________
                                                                                                             P.O. Box

                                                  Brentwood                     TN         37027
                                              ______________________________________________                 _______________________________________________
                                              City                        State    ZIP Code                  City                      State      ZIP Code


                                                                                                             Location of principal assets, if different from
                                                                                                             principal place of business
                                                  Williamson
                                              ______________________________________________
                                              County                                                         _______________________________________________
                                                                                                             Number     Street

                                                                                                             _______________________________________________

                                                                                                             _______________________________________________
                                                                                                             City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




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               Tehum Care Services, Inc.
Debtor        _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              8129

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor
                Tehum Care Services, Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




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Debtor
             Tehum Care Services, Inc.
            _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                            02/13/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Russell A. Perry
                                             _____________________________________________
                                                                                                          Russell A. Perry
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                     Chief Restructuring Officer
                                             Title _________________________________________




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Debtor       Tehum Care Services, Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                       /s/ Jason S. Brookner
                                          _____________________________________________            Date
                                                                                                               02/13/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY


                                          Jason S. Brookner
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Gray Reed
                                         _________________________________________________________________________________________________
                                         Firm name
                                          1300 Post Oak Blvd., Suite 2000
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Houston
                                         ____________________________________________________
                                                                                                         TX           77056
                                                                                                         ____________ ______________________________
                                         City                                                            State        ZIP Code

                                          469.320.6132
                                         ____________________________________
                                                                                                          jbrookner@grayreed.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address


                                          24033684                                                       TX
                                         ______________________________________________________ ____________
                                         Bar number                                             State




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                                 TEHUM CARE SERVICES, INC.

                                      Certificate of Resolutions

       At a special meeting of the Board of Directors of Tehum Care Services, Inc., a Texas
corporation, (the “Company”) held on February 13, 2023, the following resolutions were
consented to and duly adopted in accordance with the requirements of the Texas Business
Organizations Code.

                 RESOLVED, that, in the good faith exercise of reasonable business judgment of
         the Board of Directors, it is desirable and in the best interests of the Company, its
         creditors, stockholders, and other interested parties that the Company shall be and hereby
         is authorized to file or cause to be filed a voluntary petition for relief under the provisions
         of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

                 RESOLVED, that Isaac Lefkowitz and Russell Perry (each, an “Authorized
         Signatory”), be and hereby are authorized, empowered, and directed, to execute, file, or
         cause to be filed, deliver and verify any and all voluntary petitions and amendments
         thereto under chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”), to cause the
         same to be filed in a court of proper jurisdiction (the “Bankruptcy Court”), and to execute
         and file or cause to be filed with the Bankruptcy Court all petitions, schedules, lists and
         other motions, papers or documents, and to take any and all action that he deems
         necessary or proper to obtain necessary relief;

                RESOLVED, that the law firm of Gray Reed & McGraw LLP (“Gray Reed”) be
         and hereby is employed as bankruptcy counsel to represent and assist the Company in
         carrying out its duties under the Bankruptcy Code, and to take any and all actions to
         advance the Company’s rights and obligations; and in connection therewith, the
         Authorized Signatory, with power of delegation, is hereby authorized and directed to
         execute appropriate agreements, pay appropriate retainers, and cause to be filed
         appropriate applications for authority to retain Gray Reed’s services;

                 RESOLVED, that Ankura Consulting Group be and hereby is employed to
         provide the Company with a Chief Restructuring Officer (“CRO”), who shall be Russell
         Perry, and such other personnel as may be necessary or appropriate to assist the CRO and
         otherwise to represent and assist the Company in carrying out its duties under the
         Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
         obligations; and in connection therewith, the Authorized Signatory, with power of
         delegation, is hereby authorized and directed to execute appropriate agreements, pay
         appropriate retainers, and cause to be filed appropriate applications for authority to retain
         Ankura’s services;

                 RESOLVED, that the CRO shall have sole decision-making authority for all
         restructuring matters, any matter where the Sole Director identified below has or may
         have a conflict or interest, and for such other matters as the Sole Director may otherwise
         delegate to the CRO

                   RESOLVED, that the Authorized Signatory be, and hereby is, authorized and


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         directed to employ any other professionals to assist the Company in carrying out its
         duties under the Bankruptcy Code; and in connection therewith, the Authorized
         Signatory, with power of delegation, is hereby authorized and directed to execute
         appropriate retention agreements, pay appropriate retainers and fees, and cause to be filed
         appropriate applications for authority to retain the services of any other professionals as
         necessary;

                 RESOLVED, that the Authorized Signatory, and any employees or agents
         (including counsel) designated by or directed by the Authorized Signatory (each such
         designee an “Authorized Designee,” and collectively, the “Authorized Designees,” and
         together with the Authorized Signatory, the “Authorized Persons”), be, and each hereby
         is, authorized, empowered and directed, to execute and file all petitions, schedules,
         motions, lists, applications, pleadings and other papers, and to take and perform any and
         all further acts and deeds which he or she deems necessary, proper or desirable in
         connection with the Chapter 11 Case, with a view to the successful prosecution of such
         case;

                 RESOLVED, that, in connection with the commencement of the Chapter 11 Case,
         the Authorized Signatory is authorized and directed to (a) borrow and/or receive funds
         from and undertake any and all related transactions contemplated thereby (collectively,
         the “Financing Transactions”) and the Authorized Signatory be, and hereby is, authorized,
         empowered, and directed to negotiate, execute, and deliver any and all agreements,
         instruments, or documents, including without limitation, the debtor-in-possession
         financing agreement, with any party, including existing lenders and sureties, on such
         terms as may be approved by the Authorized Signatory as reasonably necessary for the
         continuing conduct of affairs of the Company and (b) pay related fees and grant security
         interests in and liens on some, all, or substantially all of the Company’s assets, as may be
         deemed necessary by the Authorized Signatory, in connection with such borrowings;

                 RESOLVED, that, in connection with the commencement of the Chapter 11 Case,
         the Authorized Signatory is authorized and directed to seek approval of a cash collateral
         order in interim and final form (“Cash Collateral Order”) and the Authorized Signatory
         be, and hereby is, authorized, empowered, and directed to negotiate, execute, and deliver
         any and all agreements, instruments, or documents, by or on behalf of the Company,
         necessary to implement the Cash Collateral Order, as well as any additional or further
         agreements for the use of cash collateral in connection with the Company’s Chapter 11
         Case, which agreement(s) may require the Company to grant liens to the Company’s
         existing lenders;

                RESOLVED, that in addition to the specific authorizations previously conferred
         upon the Authorized Signatory, the Authorized Signatory (and his designees and
         delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of
         the Company, to take or cause to be taken any and all such other and further action, and
         to execute, acknowledge and deliver any and all such agreements, certificates,
         instruments and other documents as may be necessary, advisable or desirable to fully
         carry out and accomplish the purposes of these Resolutions; and



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                 RESOLVED, that any and all past actions heretofore taken by the Authorized
         Signatory in the name and on behalf of the Company in furtherance of any or all of the
         preceding Resolutions be, and the same hereby are, ratified, confirmed, and approved in
         all respects.

                IN WITNESS WHEREOF, the undersigned, being the directors of the Company,
         hereby certify that the foregoing accurately reflects the resolutions adopted by the Board
         of Directors.


                                                              _____________________________
                                                              Isaac Lefkowitz
                                                              Sole Director




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